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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          BILLJCO, LLC                      ,           Case No. 5:22-CV-3201-VKD
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7          APPLE INC.                        ,
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Larissa Bifano               , an active member in good standing of the bar of

                                  11   Massachusetts                          , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Apple Inc.                         in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Erik Fuehrer                      , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         252578

                                  16   33 Arch Street, 26th Floor                           2000 University Avenue
                                  17   Boston, MA 02110                                     East Palo Alto, CA 94393-2250
                                        MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   617 406 6000                                         650 833 2000
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       larissa.bifano@us.dlapiper.com                       erik.fuehrer@us.dlapiper.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 663105               .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  zero
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 2022-06-15                                             Larissa Bifano
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Larissa Bifano                          is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16

                                  17
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                  28
                                       Updated 11/2021                                   2
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                                                      June 15, 2022


         Attorney Larissa Susan Bifano
         Jin Lee
         2020 Holly Drive Unit 14
         Los Angeles , CA 90068
         jin.lee@dlapiper.com


         IN RE:         CERTIFICATE OF ADMISSION AND GOOD STANDING


                  Enclosed please find the Certificate of Admission and Good Standing for Commonwealth of
         Massachusetts Attorney Larissa Susan Bifano . The certificate provides certification of the
         attorney’s date of admission and current good standing at the Bar of the Commonwealth of
         Massachusetts.

                  If you have any questions or should need further assistance, please do not hesitate to contact
         the Attorney Services Department at either sjccertsgs@sjc.state.ma.us or 617-557-1050.



                                                     Very truly yours,




                                                 MAURA S. DOYLE
                                                 Clerk
                                                 Supreme Judicial Court


MSD/ jr
Clearance: 06/14/2022 and Data File_06.13.2022
Enclosures
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                                             COMMONWEALTH OF MASSACHUSETTS
                        SUFFOLK, SS.




                                     BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston
                        within and for said County of Suffolk, on                                                  November 28, 2005,

                        said Court being the highest Court of Record in said Commonwealth:



                                                                          Larissa Susan Bifano


                      being found duly qualified in that behalf, and having taken and subscribed

                      the oaths required by law, was admitted to practice as an Attorney, and, by virtue

                      thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:

                      that said Attorney is at present a member of the Bar, and is in good standing
                      according to the records of this Court*.

                                     In testimony whereof, I have hereunto set my hand and affixed the

                                                  seal of said Court, this fourteenth                                                      day of             June
                                                                   in the year of our Lord two thousand and twenty-two.




                                                                                                                   MAURA S. DOYLE, Clerk




* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification. X3116.

                                                          Amended January 2022, effective February 2022 for digital and/or electronic attestation for the Supreme Judicial Court for the County of Suffolk.
